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                              EXHIBIT R
Case 2:18-cv-03549-GRB-ST Document 39-18 Filed 03/01/19 Page 2 of 3 PageID #: 612



  Subject: Letter%20to%20Senft-requesting%20robo%20call-signed.pdf
  From:     Monica Martinez <mmartine77@gmail.com>
  Sent:     Sun, 18 May 2014 14:30:33 -0400
  To:       Daniel Altschuler <daniel.altschuler@maketheroadny.org>
  Letter%20to%20Senft-requesting%20robo%20call-signed.pdf

  Hi Dan...

  Attached please find the letter I sent to Senft regarding the Town disseminating information to our
  residents in English and Spanish.

  Hope you're well.
  Monica




  Sent from my iPhone
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  MONICA R. MARTINEZ                                                    COURTHOUSE CORPORATE CENTER
               th
  Legislator, 9 District                                                      320 Carleton Ave, Suite 4300
                                                                                    Central Islip, NY 11722
                                                                                         P: (631) 853-3700
  COMMITTEES                                                                             F: (631) 853-3568
  Human Services, Chair                                      e-mail: Monica.Martinez@suffolkcountyny.gov
  Education & Information Technology, Vice-Chair
  Budget & Finance
  Health
  Public Safety




  May 16, 2014


  Councilman Anthony Senft Jr.
  Ockers House
  965 Montauk Hwy
  Oakdale, New York 11769


  Dear Mr. Senft,

  I would like to thank you and your colleagues for attending the Health and Legal Clinic which was held
  at the Brentwood Library on May 15, 2014.

  At the forum, Councilman Flotteron distributed a flyer indicating an “Informational” meeting to be
  held on May 20, 2014 at 6:30pm regarding Roberto Clemente Park.

  As per my request at the forum, our residents should be notified via a “robo-call” paid by the Town in
  English and Spanish. Furthermore, any information disseminated by the Town of Islip should alway s
  be in English and Spanish in an effort to be empathetic to the demographics found within the district.

  In continuing to be emphatic to our residents of Brentwood and Central Islip, I am requesting you
  have either interpretation devices or an interpreter to assist residents.



  Sincerely,



  Monica R. Martinez
  Suffolk County Legislator
  9th Legislative District

  CC: Acting Supervisor Eric Hofmeister
     Councilman John Cochrane, Jr.
     Councilman Steve Flotteron
     Councilwoman Trish Bergin Weichbrodt
